                                              Case 17-10274                           Doc 15         Filed 05/02/17              Page 1 of 17
 Fill in this information to identify your case and this filing:

 Debtor 1                    Barry ONeil Graves
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number            17-10274                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2250 Willie Pace Road                                                          Single-family home                          Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                         the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                   Current value of the      Current value of the
        Burlington                        NC        27217-0000                         Land                                        entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                                 $78,775.00                  $78,775.00
                                                                                       Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                       Other                                       (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.
                                                                                       Debtor 1 only                               Sole Interest
        Alamance                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                .IMPORTANT NOTICES:

                                                                                (1) Valuation Method (Sch. A & B): FMV unless otherwise noted.

                                                                                (2) Creditor claims disclosed on Sch. D, E & F are estimates only, drawn
                                                                                largely from unverified information provided by the creditor, and shall not
                                                                                be considered an admission by the Debtor(s) of the amount owed,
                                                                                interest, late fees, etc. Nor is this listing of a creditor or representatives
                                                                                an admission by the Debtor(s) that such parties are actual owners of such
                                                                                claims.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                         $78,775.00

 Part 2: Describe Your Vehicles




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
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                                        Case 17-10274                       Doc 15         Filed 05/02/17               Page 2 of 17
 Debtor 1        Barry ONeil Graves                                                                                 Case number (if known)       17-10274
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Nissan                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Altima                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2012                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                  86,188                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         VIN: 1NFAL2A95C1179518
         Insurance Policy:                                           Check if this is community property                              $11,960.36                   $5,980.18
                                                                     (see instructions)

         Debtor shares interest
         w/estranged spouse


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $5,980.18


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Goods                                                                                                                   $945.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Electronics                                                                                                                       $350.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
       No
       Yes. Describe.....
Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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                                                 Case 17-10274                              Doc 15                Filed 05/02/17     Page 3 of 17
 Debtor 1         Barry ONeil Graves                                                                                               Case number (if known)   17-10274

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Wearing Apparel                                                                                                                   $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                 $1,595.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                      Cash on Hand                            $270.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                MetaBank                                                                      $50.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No

Official Form 106A/B                                                                       Schedule A/B: Property                                                                 page 3
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                                            Case 17-10274               Doc 15         Filed 05/02/17            Page 4 of 17
 Debtor 1         Barry ONeil Graves                                                                          Case number (if known)      17-10274

        Yes. Give specific information about them...................
                                   Name of entity:                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         2016 state and federal Tax refund: total
                                                             received $4,235.

                                                               Already received and included in
                                                               account balances.                                   IRS and NC                                   $0.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 4
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                                            Case 17-10274                       Doc 15             Filed 05/02/17                    Page 5 of 17
 Debtor 1        Barry ONeil Graves                                                                                              Case number (if known)        17-10274

        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                 $320.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
        Yes. Give specific information.........

                                             Possible Consumer Rights Claim(s)
                                             Subject to Approval of Settlement/Award by Bankruptcy Court                                                                       Unknown

Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 5
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                                              Case 17-10274                         Doc 15              Filed 05/02/17                     Page 6 of 17
 Debtor 1         Barry ONeil Graves                                                                                                    Case number (if known)   17-10274


                                               Other Property of any kind not already listed                                                                                           $0.00


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $78,775.00
 56. Part 2: Total vehicles, line 5                                                                             $5,980.18
 57. Part 3: Total personal and household items, line 15                                                        $1,595.00
 58. Part 4: Total financial assets, line 36                                                                     $320.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $7,895.18             Copy personal property total               $7,895.18

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $86,670.18




Official Form 106A/B                                                               Schedule A/B: Property                                                                              page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                          Best Case Bankruptcy
                                            Case 17-10274                 Doc 15            Filed 05/02/17           Page 7 of 17
 Fill in this information to identify your case:

 Debtor 1                   Barry ONeil Graves
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number           17-10274
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Alamance County Tax
 2.1                                                                                                                    $0.00            $78,775.00                     $0.00
         Collector                                Describe the property that secures the claim:
         Creditor's Name                          2250 Willie Pace Road Burlington,
                                                  NC 27217 Alamance County
                                                  .IMPORTANT NOTICES:

                                                  (1) Valuation Method (Sch. A & B):
                                                  FMV unless otherwise noted.

                                                  (2) Creditor claims disclosed on
                                                  Sch. D, E & F are estimates only,
                                                  drawn largely from unve
                                                  As of the date you file, the claim is: Check all that
         124 West Elm Street                      apply.
         Graham, NC 27253                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Notice Purposes Only
       community debt

                                 Paid In
 Date debt was incurred          Escrow                    Last 4 digits of account number


 2.2     City of Graham                           Describe the property that secures the claim:                         $0.00            $78,775.00                     $0.00




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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                                            Case 17-10274                   Doc 15             Filed 05/02/17            Page 8 of 17

 Debtor 1 Barry ONeil Graves                                                                                  Case number (if know)   17-10274
               First Name                  Middle Name                      Last Name


         Creditor's Name                            2250 Willie Pace Road Burlington,
                                                    NC 27217 Alamance County
                                                    .IMPORTANT NOTICES:

                                                    (1) Valuation Method (Sch. A & B):
                                                    FMV unless otherwise noted.

                                                    (2) Creditor claims disclosed on
                                                    Sch. D, E & F are estimates only,
         201 South Main Street                      drawn largely from unve
                                                    As of the date you file, the claim is: Check all that
         P.O. Drawer 357                            apply.
         Graham, NC 27253                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Real Property Taxes - Included In Escrow
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Credit Acceptance
 2.3                                                                                                                $11,960.36          $11,960.36             $0.00
         Corporation                                Describe the property that secures the claim:
         Creditor's Name                            2012 Nissan Altima 86,188 miles
                                                    VIN: 1NFAL2A95C1179518
                                                    Insurance Policy:

                                                    Debtor shares interest w/estranged
         Attn: Managing Agent                       spouse
                                                    As of the date you file, the claim is: Check all that
         Post Office Box 513                        apply.
         Southfield, MI 48037-0513                       Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security Interest
       community debt

 Date debt was incurred          2/2017                      Last 4 digits of account number         9789

         Shellpoint Mortgage
 2.4                                                                                                                $45,748.00          $78,775.00             $0.00
         Servicing                                  Describe the property that secures the claim:




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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                                          Case 17-10274                   Doc 15             Filed 05/02/17              Page 9 of 17

 Debtor 1 Barry ONeil Graves                                                                                Case number (if know)         17-10274
              First Name                 Middle Name                      Last Name


       Creditor's Name                            2250 Willie Pace Road Burlington,
                                                  NC 27217 Alamance County
                                                  .IMPORTANT NOTICES:

                                                  (1) Valuation Method (Sch. A & B):
                                                  FMV unless otherwise noted.

                                                  (2) Creditor claims disclosed on
       Attn: Managing Agent                       Sch. D, E & F are estimates only,
       Post Office Box 10826                      drawn largely from unve
                                                  As of the date you file, the claim is: Check all that
       Greenville, SC                             apply.
       29603-0826                                      Contingent
       Number, Street, City, State & Zip Code          Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
                                                        car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
    Check if this claim relates to a                   Other (including a right to offset)   Deed of Trust
    community debt

                               04/18/2007
                               to
 Date debt was incurred        01/31/2017                  Last 4 digits of account number         6666



   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $57,708.36
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $57,708.36

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
        Credit Acceptance Corporation
        Silver Triangle Building                                                                    Last 4 digits of account number
        25505 W. Twelve Mile Rd, Ste 3000
        Southfield, MI 48034-8339

        Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.4
        Stern & Eisenberg PC
        1709 Devonshire Drive                                                                       Last 4 digits of account number
        Columbia, SC 29204




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 3 of 3
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                                          Case 17-10274                        Doc 15     Filed 05/02/17      Page 10 of 17
 Fill in this information to identify your case:

 Debtor 1                   Barry ONeil Graves
                            First Name                           Middle Name                Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                Last Name


 United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF NORTH CAROLINA (NC EXEMPTIONS)

 Case number           17-10274
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                     Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                              Check all schedules that apply:


    3.1         Melissa Nicole Graves                                                                         Schedule D, line   2.3
                1331 Parker Street                                                                            Schedule E/F, line
                Burlington, NC 27217
                                                                                                              Schedule G
                                                                                                            Credit Acceptance Corporation



    3.2         Nia Woods                                                                                     Schedule D, line
                1017 Frazier Road                                                                             Schedule E/F, line 4.16
                Mebane, NC 27302
                                                                                                              Schedule G
                                                                                                            Midland Mortgage Company ******




Official Form 106H                                                                      Schedule H: Your Codebtors                                 Page 1 of 1
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           North Carolina Employment Security
           Commission
           Post Office Box 26504
           Raleigh, NC 27611


           NC Child Support
           Centralized Collections
           Post Office Box 900006
           Raleigh, NC 27675-9006


           Equifax Information Systems LLC
           P.O. Box 740241
           Atlanta, GA 30374-0241


           Experian
           P.O. Box 2002
           Allen, TX 75013-2002


           Trans Union Corporation
           P.O. Box 2000
           Crum Lynne, PA 19022-2000


           Internal Revenue Service (MD)**
           Post Office Box 7346
           Philadelphia, PA 19101-7346


           US Attorney's Office (MD)**
           101 S. Edgeworth Street, 4th floor
           Greensboro, NC 27401


           Absolute Collection Service **
           421 Fayetteville Street Mall
           Suite 600
           Raleigh, NC 27601


           Alamance County EMS
           Post Office Box 29526
           Greensboro, NC 27429-5285


           Alamance County Tax Collector
           124 West Elm Street
           Graham, NC 27253
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       Alamance County Tax Collector
       124 West Elm Street
       Graham, NC 27253


       Alamance Ear Nose & Throat LLP
       Post Office Box 2
       Burlington, NC 27216-0002


       Alamance Regional Medical Center
       1240 Huffman Mill Road
       Burlington, NC 27215


       Applied Bank
       c/o Capital Management Services, LP
       726 Exchange Street, Suite 700
       Buffalo, NY 14210


       AT&T **
       Post Office Box 105503
       Atlanta, GA 30348


       AT&T **
       Post Office Box 105503
       Atlanta, GA 30348


       Bank of America
       Post Office Box 25118
       Tampa, FL 33622-5118


       Bell South
       Post Office Box 1262
       Charlotte, NC 28201-1262


       Benjamin Gilbert, Director
       Attn: Legal Dept. of UNC Hospitals
       101 Manning Drive
       Chapel Hill, NC 27514


       Bull City Financial Solutions, Inc.
       1107 W Main St
       Suite 201
       Durham, NC 27701
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       Bull City Financial Solutions, Inc.
       1107 W Main St
       Suite 201
       Durham, NC 27701


       City of Graham
       201 South Main Street
       P.O. Drawer 357
       Graham, NC 27253


       City of Graham
       201 South Main Street
       P.O. Drawer 357
       Graham, NC 27253


       CRA Collections
       PO Box 2103
       Mechanicsburg, PA 17055


       Credit Acceptance Corporation
       Attn: Managing Agent
       Post Office Box 513
       Southfield, MI 48037-0513


       Credit Acceptance Corporation
       Silver Triangle Building
       25505 W. Twelve Mile Rd, Ste 3000
       Southfield, MI 48034-8339


       CSDDUR
       Post Office Box 530
       Durham, NC 27702-0530


       CSDDUR
       Post Office Box 530
       Durham, NC 27702-0530


       Department of Education/Nelnet
       121 South 13 Street
       Lincoln, NE 68508


       DIRECTV
       2230 East Imperial Highway
       Mail Station LA1/N367
       El Segundo, CA 90245
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       Diversified Consultants, Inc.
       10550 Deerwood Park Blvd
       Suite 708
       Jacksonville, FL 32256


       Inter Collec
       Post Office Box 3136
       Winston Salem, NC 27102


       Internal Revenue Service (ED)**
       Post Office Box 21126
       Philadelphia, PA 19114-0326


       Kernodle Clinic
       Post Office Box 1717
       Burlington, NC 27216


       Law Offices of John T. Orcutt
       6616-203 Six Forks Road
       Raleigh, NC 27615


       Melissa Nicole Graves
       1331 Parker Street
       Burlington, NC 27217


       Midland Mortgage Company ******
       Attn: Managing Agent
       Post Office Box 26648
       Oklahoma City, OK 73126-6648


       NC Child Support
       Centralized Collections
       Post Office Box 900006
       Raleigh, NC 27675-9006


       NCO Financial Services **
       PO Box 15630
       Dept 99
       Wilmington, DE 19850


       Nia Woods
       1017 Frazier Road
       Mebane, NC 27302
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       North Carolina Department of Revenu
       c/o NC Department of Justice
       Post Office Box 629
       Raleigh, NC 27602-0629


       North Carolina Department of Revenu
       c/o Reginald S. Hinton
       Post Office Box 25000
       Raleigh, NC 27640-5000


       North Carolina Dept of Revenue**
       Post Office Box 1168
       Raleigh, NC 27602-1168


       Optima Recovery Services
       Post Office Box 52968
       Knoxville, TN 37950-2968


       Shellpoint Mortgage Servicing
       Attn: Managing Agent
       Post Office Box 10826
       Greenville, SC 29603-0826


       Sprint
       c/o RPM
       Post Office Box 768
       Bothell, WA 98041


       Stern & Eisenberg PC
       1709 Devonshire Drive
       Columbia, SC 29204


       Time Warner Cable
       Post Office Drawer 40508
       Fayetteville, NC 28309-0508


       UNC Hospitals**
       211 Friday Center Drive
       Suite G21
       Chapel Hill, NC 27517


       UNC Physicians & Associates**
       Post Office Box 168
       Chapel Hill, NC 27514
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       US Attorney's Office (MD)**
       101 S. Edgeworth Street, 4th floor
       Greensboro, NC 27401


       US Attorney's Office (ED)**
       310 New Bern Avenue
       Suite 800, Federal Building
       Raleigh, NC 27601-1461
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                                     CERTIFICATE OF SERVICE


I, Patty Cherigo, of Law Offices of John T. Orcutt, P.C., certify under penalty of perjury that I am, and
at all times hereinafter mentioned was, more than eighteen (18) years of age and that on May 2, 2017,
I served a copy of the Amended Schedule A/B, Amended Schedule D, Amended Schedule H, and
Amended Creditors Mailing Matrix, by automatic electronic noticing, upon the following parties:

Anita Jo Kinlaw Troxler
Chapter 13 Trustee

by regular U.S. mail, upon the following parties (names and addresses):

Credit Acceptance Corporation
Attn: Managing Agent
Post Office Box 513
Southfield, MI 48037-0513

Melissa Nicole Graves
1331 Parker Street
Burlington, NC 27217




                                                         s/ Patty Cherigo
                                                         Patty Cherigo
amend2.wpt (rev. 3/26/07)
